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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       EASTERN DIVISION AT COLUMBUS

  In re: OHIO EXECUTION
   PROTOCOL LITIGATION,

                                                       :       Case No. 2:11-cv-1016

                                                               Chief Judge Edmund A. Sargus, Jr.
                                                               Magistrate Judge Michael R. Merz

  This Report relates to all Plaintiffs
   Except Raymond Tibbetts and
   Robert Van Hook



      SUPPLEMENTAL REPORT AND RECOMMENDATIONS ON
    DEFENDANTS’ MOTION TO DISMISS THE FOURTH AMENDED
                   OMNIBUS COMPLAINT


          This capital § 1983 case is before the Court on Objections by Defendants (ECF No. 1450)

  and by Plaintiffs (ECF No. 1459) to the Magistrate Judge’s Report and Recommendations

  (“Report,” ECF No. 1429) recommending a disposition of Defendants’ Motion to Dismiss the

  Fourth Amended Omnibus Complaint (ECF No. 1379). Plaintiffs have responded to Defendants’

  Objections (ECF No. 1457), Defendants have responded to Plaintiffs’ Objections (ECF No. 1562),

  and Chief Judge Sargus has recommitted the matter for reconsideration in light of the Objections

  (ECF No. 1452).

          The parties do not object to the Report’s statement of the standard of review for motions

  to dismiss under either Fed. R. Civ. P. 12(b)(1) or 12(b)(6), although at several points Plaintiffs’

  object to how the Twombly/Iqbal standard is applied. The parties also correctly state that review

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  of a Magistrate Judge’s recommendation on a dispositive motion, such as the instant Motion to

  Dismiss, is for clear error as to facts and de novo as to the law.



  Defendants’ Objections



           Third Cause of Action:1 Access to Court



           In their Third Cause of Action, Plaintiffs complain of limitations on their ability to consult

  with counsel and counsel’s ability to communicate with the courts or other relevant authorities,

  particularly the Governor, during the course of an execution (Fourth Amended Omnibus

  Complaint (“4AOC”), ECF No. 1252, PageID 45728-35, ¶¶ 1295-1328). Defendants sought

  dismissal on the basis of Judge Frost’s decision in Cooey v. Strickland, 2011 U.S. Dist. LEXIS

  8336, *39 (S.D. Ohio Jan. 29, 2011). The Report concluded that Judge Frost’s decision was based

  on the then-existing record on access and that telephone access had been changed since then, but

  without development of an adequate record as yet. (ECF No. 1429, PageID 55227.)

           In their Objections, Defendants again rely on Judge Frost’s January 2011 decision cited

  above and the Magistrate Judge’s Decision of November 14, 2017, denying leave to amend to add

  a new access claim to the claims of then-Plaintiff Alva Campbell, who was set to be executed the

  next day (ECF No. 1375). The proposed amendment would have addressed changes in access

  implemented after the Gary Otte execution, but before the attempted Campbell execution. The

  Magistrate Judge denied the amendment because the access being provided after the changes was



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   The Magistrate Judge’s use of the term “cause of action” is purely a matter of quoting the archaism used by
  Plaintiffs’ counsel. The Magistrate Judge has made the point frequently in this case that the Federal Rules of Civil
  Procedure adopted the label “claim for relief” in 1938.

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  still more than the access Judge Frost found to be constitutional. Defendants rely on the logic of

  this decision.

         As Plaintiffs point out in response, Judge Frost’s January 2011 summary judgment decision

  on the basis of the record then before him is not inconsistent with his prior decision that Plaintiffs’

  access claims did state a claim upon which relief could be granted, that is, that they survived the

  Rule 12(b)(6) test even if ultimately they could not pass the Rule 56 test. Plaintiffs also note that

  the Magistrate Judge’s November 14, 2017, decision was, as it states on its face, issued in the haste

  necessary when a motion is made within twenty-four hours of a scheduled execution.

         It is therefore again respectfully recommended that the Motion to Dismiss be denied as to

  the Third Cause of Action.



         Fourth Cause of Action: Equal Protection Violations



         In their Fourth Cause of Action, Plaintiffs allege that they have been or will be treated

  differently from other similarly situated individuals in violation of the Equal Protection Clause of

  the Fourteenth Amendment (4AOC, ECF No. 1252, PageID 45735-78, ¶¶ 1329-1495). This Cause

  of Action comprises eighteen sub-claims, set out verbatim in the Report (ECF No. 1429, PageID

  55228-30) which recommends dismissing all of the sub-claims except sub-claims A.1, A.10, B.1,

  and B.8.

         Sub-claim A.1.

         The Report concluded that while Sub-claim A.1 does not currently plead a threatened

  deviation from the Execution Protocol, it pleads “an equal protection theory which has been

  accepted by this Court in the past and resulted in the issuance of preliminary injunctive relief, to



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  wit, that deviations from at least some provisions of the Execution Protocol burden an inmate’s

  right to be free of cruel and unusual punishment.” (Report, ECF No. 1429, PageID 55244.)

  Defendants object that the pleading is too speculative and the Court has not found an equal

  protection violation on this theory since 2012 (Objections, ECF No. 1450, PageID 55398).

  Plaintiffs respond that they obtained relief on this theory in this case in the past (Response, ECF

  No. 1457, PageID 55427-31).

         The current standard for evaluating whether a complaint states a claim turns on plausibility.

  “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

  true, to ‘state a claim to relief that is plausible on its face.’” Doe v. Miami University, 882 F.3d

  579 (6th Cir. 2018), quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), in turn quoting Bell

  Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). Given that some Plaintiffs have obtained

  injunctive relief from this Court under this theory but on the facts that existed at the time of their

  imminent executions, it is not implausible that similar circumstances might be presented with

  future executions. In this sense, plausibility is about possible future facts. The Court could,

  therefore, dismiss Sub-claim A-1 for lack of present facts and then allow amendment if the facts

  change. The Magistrate Judge believes the better course is to leave Sub-claim A-1 stand as

  pleading an appropriate legal theory without appearing to repudiate it by dismissal at this stage.



         Sub-claim A-10.



         As to this sub-claim, the Report reads:

                 In their tenth Equal Protection [burden on fundamental rights] sub-
                 claim, Plaintiffs contend that the removal of required drug
                 concentrations from the Execution Protocol violates their Equal
                 Protection rights.

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                 Although that amendment to the Protocol precedes the last three
                 preliminary injunction hearings in this case, the Court has not yet
                 heard any evidence in support of this claim. It is not unconstitutional
                 to amend the Execution Protocol, but it is at least conceivable that
                 this particular amendment might be shown to have reduced the
                 safeguards of Plaintiffs’ Eighth Amendment rights. The Motion to
                 Dismiss sub-claim 10 should be denied.

  (Report, ECF No. 1429, PageID 55251.)

         Defendants object essentially on the same basis as they objected on sub-claim A-1, to wit,

  that the sub-claim is “premised on [a] mere possibility of speculative intentional action and injury.”

  (ECF No. 1450, PageID 55399.) Not so. Removal of the required drug concentrations from the

  Execution Protocol is undoubtedly an intentional action by Defendants: the Protocol did not

  amend itself. The question is the effect of that amendment. Defendants emphasize what the Report

  noted, to wit, that there has been no evidence on this claim presented in the three preliminary

  injunction hearings held since the amendment. But a preliminary injunction hearing is not a trial

  on all issues. If at the time of summary judgment practice the Plaintiffs have no evidence to

  support this claim, it will be time enough for dismissal.



         Sub-claim B-1.



         This is the first of eight equal protection sub- claims grounded in the class-of-one theory.

  The Report found that, as of yet, Defendants have not made or threatened any arbitrary

  classification of any one of the Plaintiffs that would support relief on that theory (ECF No. 1429,

  PageID 55253). Nonetheless, the Magistrate Judge recommended keeping this sub-claim in the

  Fourth Amended Omnibus Complaint on the same theory as sub-claim A-1 with the caveat “that


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  any particular Plaintiff will need to amend or supplement his individual complaint if he is

  threatened with particular deviations from the Execution Protocol at the time his execution

  becomes imminent.” Id. at PageID 55254.

          Defendants object that Plaintiffs have not in fact pleaded any actionable arbitrary

  classification. While that is true, it is the law of the case and consistent with equal protection

  theory generally that a class-of-one claim is cognizable in a § 1983 case. Plaintiffs’ position on

  this sub-claim is less tenable than their position on sub-claim A-1 because there has been relief

  granted on that theory (“deviation from the Protocol”) in the past, whereas no relief has been

  granted in this case on the class-of-one theory. Nevertheless, the Magistrate Judge adheres to his

  prior recommendation because the theory is sound if facts are eventually pleaded to support such

  a claim for relief.



          Sub-claim B-8.



          The Report recommended allowing sub-claim B-8 (removal of required drug

  concentrations) to stand on the same basis as sub-claim A-10 (ECF No. 1429, PageID 55255).

  Here again there has been no evidence yet presented to suggest that the removal of the

  concentrations was arbitrarily directed at any one Plaintiff and the generality of the amendment to

  remove the concentrations cuts strongly against that claim. Therefore, sub-claim B-8 is less

  plausible than sub-claim A-10. However, there is no prejudice to Defendants in allowing this

  claim to be tested in summary judgment rather than on a motion to dismiss.




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  Plaintiffs’ Objections 2



          Second Cause of Action: Deprivation of State-Created Rights Without Due Process



          In their Second Cause of Action Plaintiffs assert they have state-created life, liberty, and

  property interests created by the Ohio execution statute (Ohio Revised Code § 2949.22(A)) and

  the Ohio Execution Protocol (ODRC Policy 01-COM-11) which are protected by the Fourteenth

  Amendment Due Process Clause. (4AOC, ECF No. 1252, PageID 45722-28, ¶¶ 1270-94.)

          The Report (ECF No. 1429, PageID 55226) recommended dismissing the Second Cause

  of Action on the basis of Cooey (Biros) v. Strickland, 589 F.3d 210, 234 (6th Cir. 2009), followed

  by Judge Frost in Cooey (Henderson) v. Strickland, 2010 U.S. Dist. LEXIS 81841 (S.D. Ohio Aug.

  12, 2010), as well as the rationale given by the undersigned in In re: Ohio Execution Protocol

  Litig. (Tibbetts & Otte), 2017 U.S. Dist. LEXIS 107468 (S.D. Ohio July 12, 2017), and In re: Ohio

  Execution Protocol Litig. (Campbell), 2017 WL 3479589 (S.D. Ohio Aug. 14, 2017).

          Plaintiffs concede Cooey (Biros) is binding precedent as to the execution statute, but object

  to preserve their right to appeal because they believe it was wrongly decided (Objections, ECF No.

  1459, PageID 55448).

          As to Plaintiffs’ claim of Due Process rights protected by the Execution Protocol, the

  Magistrate Judge also relied on Town of Castle Rock v. Gonzales, 545 U.S. 748 (2005), to hold

  that the right to a “humane and dignified execution” was not a state-created property right protected

  by the Fourteenth Amendment because it had no “ascertainable monetary value.” Plaintiffs object


  2
   To preserve continuity, Plaintiffs have included references to the causes of action not at issue on the instant
  Motion. This Supplemental Report will discuss only the claims actually at issue on the instant Motion. For
  example, the First Cause of Action, which is pleaded in the individual supplemental complaints (ECF No. 1478-
  1556), is not referenced herein.

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  that this “ascertainable monetary value” criterion for a state-created property interest is just a

  “passing reference,” and not a “holding.” (Objections, ECF No. 1459, PageID 55449).

         In Castle Rock, the Supreme Court granted certiorari to review a Tenth Circuit decision

  which had (1) found a mother had a state-created property interest in the enforcement of a

  restraining order against the father of her children which (2) was protected by the Due Process

  Clause and therefore actionable under 42 U.S.C. § 1983. Justice Scalia’s opinion makes clear that

  only a property interest, not a life or liberty interest, was in issue. 545 U.S. at 756. The Court held

  that the provisions of Colorado law relied on by the plaintiff did not “truly [make] enforcement of

  restraining orders mandatory” because police officer discretion often coexists with statutory

  language that is apparently mandatory. E.g. by use of the word “shall”. Id. at 760.

         Apart from plaintiff’s lack of entitlement to enforcement, the Court also held that such an

  entitlement, if it existed, would not be a property interest:

                   Even if we were to think otherwise concerning the creation of an
                   entitlement by Colorado, it is by no means clear that an individual
                   entitlement to enforcement of a restraining order could constitute a
                   "property" interest for purposes of the Due Process Clause. Such a
                   right would not, of course, resemble any traditional conception of
                   property. Although that alone does not disqualify it from due
                   process protection, as [Board of Regents of State Colleges v.] Roth,
                   [408 U.S. 565 (1972)] and its progeny show, the right to have a
                   restraining order enforced does not "have some ascertainable
                   monetary value," as even our "Roth-type property-as-entitlement"
                   cases have implicitly required. Merrill, The Landscape of
                   Constitutional Property, 86 Va. L. Rev. 885, 964 (2000). Perhaps
                   most radically, the alleged property interest here arises incidentally,
                   not out of some new species of government benefit or service, but
                   out of a function that government actors have always performed--to
                   wit, arresting people who they have probable cause to believe have
                   committed a criminal offense.

  Id. at 766-67.


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           To this judicial officer, the language in the quoted paragraph reads like an alternative

  holding, and not “dictum” or a “passing reference.”

           Having argued that the Magistrate Judge read Castle Rock too broadly, Plaintiffs then assert

  two ways in which they say Castle Rock supports their position. First, they say, the Supreme Court

  found that the benefit at issue there – enforcement of a restraining order – was not a property

  interest because it was subject to police officer discretion. Here, however, the obligation to

  perform executions in a “professional, humane, sensitive, and dignified” manner is made

  mandatory by the use of the word “shall” in the Execution Protocol. 3 But the same was true of the

  statute at issue in Castle Rock and the Supreme Court found that was not controlling. 545 U.S. at

  761. As Defendants note, the Ohio courts have held that the use of “shall” in prison regulations

  does not confer rights on inmates. State ex rel. Larkins v. Wilkinson, 79 Ohio St. 3d 477, 479

  (1997); State ex rel. Shepherd v. Croft, 2010-Ohio-258 (10th Dist. Jan. 28, 2010).

           Second, Plaintiffs argue that in Castle Rock “the alleged interest was not a direct benefit to

  the individual but rather an indirect benefit arising out of governmental action directed at a third

  party.” (Objections, ECF No. 1459, PageID 55450.) Here, they say, the requirement of conducting

  an execution in a professional, humane, sensitive, and dignified manner “has only one direct

  beneficiary: the condemned prisoner himself.” Id. at PageID 55450-51. Not so. All persons

  involved with an execution benefit from having it performed in the described manner. Just as there

  is a benefit to the general public in having the law enforced as in the Castle Rock situation, so to



  3
    Plaintiffs contend that the Execution Protocol is “binding state administrative law” (ECF No. 1459, PageID 55450).
  The State’s characterization of the Protocol requirements has varied over time. See Cooey (Brooks) v. Kasich, 2011
  WL 5326141 (S.D. Ohio 2011), in which Judge Frost described how the Protocol’s requirements “went from binding
  administrative law to advisory to binding again,” according to testimony from various ODRC witnesses in hearings
  taking place between 2009 and 2011. In In re Ohio Execution Protocol Litig. (Lorraine), 840 F. Supp. 2d 1044 (S.D.
  Ohio 2012), Judge Frost again recognized that “as a result of state action, the written protocol is now binding.” Id. at
  1055. Both of those opinions were on motions for preliminary injunctive relief, so that the findings of fact and
  conclusions of law are not binding at a future trial.

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   there is a benefit to the public in having executions performed in a professional, humane, sensitive,

   and dignified manner.

           Plaintiffs object that the Magistrate Judge made a distinction between “execution

   processes” and the execution itself. The Magistrate Judge is unaware of having suggested such a

   distinction.

           Having reconsidered the matter in light of the Objections, the Magistrate Judge again

   concludes the Second Cause of Action should be dismissed for failure to state a claim upon which

   relief can be granted under 42 U.S.C. § 1983.



           Fourth Cause of Action: Equal Protection Violations



           In their Fourth Cause of Action, Plaintiffs claim Defendants have violated or will violate

   their Fourteenth Amendment right to equal protection of the laws in eighteen different ways,

   pleaded in eighteen sub-claims. Plaintiffs make ten claims that their fundamental rights under the

   Eighth Amendment are being or will be burdened (Claims A.1 through A.10) and eight class-of-

   one claims (Claims B.1 through B.8). The Report’s failure to recommend dismissal of four of

   those sub-claims is dealt with above under Defendants’ Objections; the remainder are dealt with

   here.



           Plaintiffs’ General Objections to the Report’s Equal Protection Analysis



           The Report contains a lengthy section analyzing the equal protection law of this case,

   incorporating the parallel analysis in In re: Ohio Execution Protocol Litig. (Campbell & Tibbetts),



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   2017 U.S. Dist. LEXIS 182406, 2017 WL 5020138 (S.D. Ohio Nov. 3, 2017) (ECF No. 1429,

   PageID 55232-42). Although Campbell and Tibbetts appealed, they raised no argument about this

   Court’s denial of their equal protection claims, and the Sixth Circuit affirmed this Court’s decision.

   In re: Ohio Execution Protocol Litig. (Campbell & Tibbetts), 881 F.3d 447 (6th Cir. 2018). The

   Report concluded: “[t]hus this Court’s equal protection analysis in Campbell & Tibbetts, supra,

   has now become part of the law of this case without disturbance by the Sixth Circuit.” (ECF No.

   1429, PageID 55241.)

          Plaintiffs’ Objections to this analysis comprise fifteen pages of their Objections (ECF No.

   1459, PageID 55454-68). Of their failure to appeal from the dismissal of these claims in Campbell

   & Tibbetts, they say nothing.

          Having considered these general objections, the Magistrate Judge remains persuaded that

   rulings on the instant Motion should be

                  consistent with Judge Frost’s decisions in Wiles, Hartman, and
                  Phillips, to wit, (1) Eighth Amendment and Equal Protection
                  analyses are analytically distinct; (2) intentional state action in
                  connection with an execution which burdens an inmate’s
                  fundamental Eighth Amendment right by increasing the risk that he
                  will suffer severe pain and needless suffering is actionable under the
                  Equal Protection Clause but (3) not every “deviation” from the
                  Execution Protocol increases that risk.

                  Therefore, to prove an Equal Protection violation, Plaintiffs must
                  show an intentional state action (action properly attributable to the
                  State under Monell [v. New York City Dept. of Social Services, 436
                  U.S. 658 (1978),] which treats one death row inmate disparately
                  from others and burdens that inmate’s Eighth Amendment right by
                  increasing the risk he will suffer severe pain and needless suffering.

   In re: Ohio Execution Protocol Litig. (Campbell & Tibbetts), 2017 WL 5020138 at *27 (S.D.

   Ohio Nov. 3, 2017).


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          As Plaintiffs have amply proven, an almost endless stream of words can be put on paper

   arguing the content of the law of this case as garnered from prior opinions. However, discerning

   the law of the case is only part of our duty. Judge Frost always reminded the parties that decisions

   on preliminary injunction motions were not final. Ultimately we must apply our best present

   understanding what the Equal Protection Clause requires. That said, the Magistrate Judge adheres

   to the analysis of equal protection law in general given in the Report.



          Sub-claim A.2: Deviations from Ohio’s Execution Statute



          In their second burden-on-fundamental-rights sub-claim, Plaintiffs assert that Ohio’s

   expected deviations from its execution statute, Ohio Revised Code § 2949.22(A), will burden their

   fundamental Eighth Amendment right to be free from cruel and unusual punishment. The Report

   recommends dismissal of sub-claim A.2 because it attempts to constitutionalize the statute and

   because it hypothesizes various ways in which Ohio might violate the statute without plausibly

   alleging facts in support of those claims.

          The Report notes the long-standing principle that “[f]ailure to abide by state law is not

   itself a constitutional violation.” (ECF No. 1429, PageID 55242, citing Roberts v. City of Troy,

   773 F.2d 720 (6th Cir. 1985), and other cases). Plaintiffs offer no objection to that general

   proposition.

          Based on that principle, the Report concluded the Equal Protection Clause did not

   constitutionalize Ohio Revised Code § 2949.22(A)’s prescription of a quick and painless

   execution. Plaintiffs object that “the statute itself implicates Plaintiffs’ Eighth Amendment

   fundamental rights by setting out the requirements for how they are to be executed; accordingly,



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   applying the statute disparately burdens those fundamental rights by removing the protections that

   are included in the statute to make it Eighth Amendment compliant.” (ECF No. 1459, PageID

   55469.) This is nothing more than an argument that the Equal Protection Clause constitutionalizes

   the Ohio execution statute. But there is no Eighth Amendment right to a painless execution.

   Glossip v. Gross, 576 U.S. ___, 135 S.Ct. 2726, 192 L. Ed. 2d 761 (2015); Fears v. Morgan (In

   re: Ohio Execution Protocol), 860 F.3d 881 (6th Cir. 2017)(en banc).

          The Report concluded ¶¶ 1377 and 1378 did not state a claim

                  because there is no threat of Defendants “failing to continue
                  application of the lethal injection drug(s) until a Plaintiff is dead” or
                  of “failing to administer a sufficient dosage of the lethal injection
                  drug(s).” That is to say, the Defendants have not expressly
                  threatened either of these courses of conduct, nor have they engaged
                  in these practices in the past so as to have made an implicit threat of
                  repeating them.

   (ECF No. 1429, PageID 55245.)

          Plaintiffs’ Objections note they alleged the “Defendants failed to administer the required

   dosages of drugs during the execution of Joseph Clark” and the drugs administered to Dennis

   McGuire (10 mg.of midazolam and 40 mg of hydromorphone) did not quickly and painlessly cause

   death (Objections, ECF No. 1459).

          While the Fourth Amended Omnibus Complaint does make these allegations, it is not

   plausible that they will be repeated. The drug not administered in sufficient dosage in the Clark

   case was sodium thiopental which is no longer available to be used in executions. A major part of

   the problem with the Clark execution was the failure to establish and maintain two intravenous

   lines and Director Mohr has testified he would not permit an execution to proceed in the future

   without two lines. The protocol involved in the McGuire execution has been abandoned.




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           The Fourth Amended Omnibus Complaint is replete with accounts of difficulties with prior

   executions, both in Ohio and in other states (ECF No. 1252, PageID 45667-45721). This appears

   to be in support of something like a Murphy’s Law argument: if something can go wrong, it will.4

   But Murphy’s Law is also not part of the Constitution. An Equal Protection violation requires an

   intentional act by a state actor; as Judge Frost noted earlier in this case, mistakes will happen and

   they are not constitutional violations. In re: Ohio Execution Protocol Litigation, 868 F.Supp.2d

   625, 626 (S.D. Ohio 2012). For the reasons given, the two cited past failures are not plausibly

   likely to reoccur. The Plaintiffs’ Objections do not quarrel with the Report’s conclusion that no

   state actor has expressly threatened to repeat what occurred in the Clark or McGuire execution.

   And this Court has not found an equal protection violation since 2012.

           Plaintiffs allege Defendants will not “continue application of the lethal drug(s) until

   Plaintiff is dead.” (4AOC, ECF No. 1252, PageID 45748, ¶ 1377.) In their Objections, Plaintiffs

   complain that the Protocol calls for bolus injections of the three execution drugs, instead of “an

   initial injection followed by a continuous infusion.” (ECF No. 1459, PageID 55470.) This

   amounts to an argument that the Fourteenth Amendment constitutionalizes Plaintiffs’

   interpretation of the word “continuous.”



           Sub-claim A.3: Deviations from the Ohio Constitution



           In sub-claim A.3, Plaintiffs speculate that the Ohio Constitution’s prohibition on cruel and

   unusual punishments “may accord greater civil liberties and protections to individuals and groups



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    As social science this portion of the Fourth Amended Omnibus Complaint fails, because it does not tell the reader
   how many executions were completed without these difficulties. Of course, no one expects court pleadings to be
   social science.

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   than its federal counterpart.” (ECF No. 1252, PageID 45749, ¶ 1383.) The Report recommended

   dismissal because Plaintiffs’ Memorandum in Opposition to the Motion to Dismiss did not mention

   the Ohio Constitution or any case law supporting their argument (ECF No. 1429, PageID 55245-

   46).

          Plaintiffs object that the Defendants’ argument for dismissal of this claim “solely on the

   bases of Eleventh Amendment sovereign immunity and that the Eighth Amendment, not the Equal

   Protection Clause, controls the claim.” (Objections, ECF No. 1459, PageID 55472.) Thus the

   Magistrate Judge is said to have raised the recommended basis for dismissal – insufficient pleading

   under Twombly/Iqbal -- sua sponte. Id. at PageID 55473.

          The Magistrate Judge agrees the Report on this sub-claim is too cursory.

          Defendants asserted in the Motion that this sub-claim did not state a claim upon which

   relief could be granted under § 1983 because it raised only a speculative claim under Ohio law

   (ECF No. 1379, PageID 51940). Upon the authority cited above, the Equal Protection Clause does

   not constitutionalize Ohio law and therefore the citation of Twombly/Iqbal was appropriate and the

   lack of sufficient pleading was not raised sua sponte.

          In addition, however, Defendants did assert Eleventh Amendment immunity from liability

   on this Ohio law claim. As they noted, the Eleventh Amendment does not bar an action for

   injunctive relief against a state officer for violations of the United States Constitution. Ex parte

   Young, 209 U.S. 123 (1908); Cory v. White, 457 U.S. 85 (1982); Thomson v. Harmony, 65 F.3d

   1314, 1320 (6th Cir. 1995). However, the Amendment does bar an action to enjoin state officials

   from violating state law. Pennhurst State School & Hospital v. Halderman, 465 U.S. 89 (1984);

   Ernst v. Rising, 427 F.3d 351 (6th Cir. 2005)(en banc); Turker v. Ohio Dep’t of Rehab. & Corr.,

   157 F.3d 453 (6th Cir. 1998). The Sixth Circuit has applied that doctrine in this very case. In re:



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   Ohio Execution Protocol Litig. (Gary Otte), 2017 U.S. App. LEXIS 17436 (6th Cir. Sept. 7, 2017),

   affirming In re: Ohio Execution Protocol Litig. (Tibbetts & Otte), 2017 U.S. Dist. LEXIS 115583

   (S.D. Ohio July 25, 2017).

              The Report noted that the claim was also speculative because Plaintiffs’ Memorandum in

   Opposition lacked any citation to Ohio law holding the Ohio Constitution created greater

   protection against cruel and unusual punishment. Plaintiffs object, now citing for the first time5

   In re C.P., 131 Ohio St. 3d 513 (2012). In that case the Ohio Supreme Court held that Ohio

   Revised Code § 2152.86, which required lifelong sex offender registration for juveniles convicted

   of rape, was unconstitutional under both the Eighth Amendment and Article I, § 9 of the Ohio

   Constitution. Id. at ¶¶ 58, 69. In discussing the Ohio law, Justice Pfeiffer noted that § 9 “provides

   protection independent of the protection provided by the Eighth Amendment.” Id at ¶ 59

   (emphasis supplied). That finding, of course, shields the judgment in the case from reversal by

   the United States Supreme Court under 28 U.S.C. § 1257. In re C.P. does not hold that the Ohio

   cruel and unusual punishment protections are greater than those provided by the Eighth

   Amendment.

              Upon this additional analysis, the Magistrate Judge again recommends Sub-claim A.3 be

   dismissed.



              Sub-claim A.4



              In sub-claim A.4, Plaintiffs assert the Defendants will violate their Equal Protection rights

   by using execution drugs in violation of various federal and state drug control laws (4AOC, ECF



   5
       That is, Plaintiffs do not claim they previously cited this case and the Magistrate Judge ignored it.

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   No. 1252, PageID 45750, ¶ 1388). The Report recommends dismissing this claim as another effort

   to constitutionalize state and federal statutes (ECF No. 1429, PageID 55246).

              Plaintiffs object that Defendants sought dismissal only under the Eleventh and Eighth

   Amendments (ECF No. 1459, PageID 55473). In response, the Magistrate Judge incorporates by

   reference the same analysis applied to this argument on sub-claim A.3.

              Plaintiffs also object that they have “fundamental rights” (1) “to rely on the guarantee of

   safe and effective drugs that is enshrined 6 in those federal and state drug laws”; (2) “to be free

   from governmental activity that shocks the conscience”; and (3) “to not be an unwilling, non-

   consenting subject of human experimentation.” (ECF No. 1459, PageID 55474.)

              “The substantive component of the Due Process Clause protects fundamental rights that

   are ‘so implicit in the concept of ordered liberty’ that ‘neither liberty nor justice would exist if they

   were sacrificed.’” Doe v. Mich Dept. of State Police, 490 F.3d 491(6th Cir. 2007), quoting Palko

   v. Connecticut, 302 U.S. 319, 325 (1937). No federal court has ever held that there is a

   fundamental right to safe and effective drugs. Government conduct that shocks the conscience

   violates the substantive Due Process Clause, not the Equal Protection Clause. And for reasons

   given in the Report (ECF No. 1429, PageID 55247-49), Plaintiffs are not being or threatened with

   being subjected to human experimentation.

              Sub-claim A.4 should therefore be dismissed.



              Sub-claim A.5: Ohio’s Definition of Death Statute



              In their fifth Equal Protection sub-claim, Plaintiffs claim that their Equal Protection rights



   6
       See footnote 11 infra on use of this word.

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   are violated by Defendants’ unspecified “deviations” from Ohio’s definition of death statute, Ohio

   Revised Code § 2108.40 (ECF No. 1252, PageID 45752-53, ¶¶ 1393-97).

          The Report recommended dismissal of sub-claim A.5 because (1) Plaintiffs gave no

   examples of executed inmates being declared dead in a way that did not comply with the statute;

   (2) none of the Defendants actually makes the pronouncement of death of an executed inmate; and

   (3) the Ohio definition of death statute was not adopted to protect inmates’ Eighth Amendment

   rights and therefore deviating from it would not violate the Equal Protection Clause (ECF No.

   1429, PageID 55247).

          Plaintiffs object that Defendants sought dismissal only under the Eleventh Amendment. In

   response, the Magistrate Judge incorporates the analysis of this argument made as to sub-claim

   A.3.

          Plaintiffs object further that they have pleaded circumstances in which an inmate might be

   declared dead under the Protocol, but would not be dead by the statutory definition (Objections,

   ECF No. 1459, PageID 55475, citing ¶¶ 302-07, 327-32, and 419-24 of the Fourth Amended

   Omnibus Complaint). They still cite no instances where this has happened in the past.

          Third, Plaintiffs assert the Magistrate Judge misreads the Protocol by finding that the

   declaration of death is by an “appropriate medical professional.” Instead, they say “the coroner

   does not, in fact, formally declare death. That task is delegated to the Warden, who announces the

   time of death.”

          The relevant text reads:

                     At the completion of the process and after a sufficient time for death
                     to have occurred, the curtain shall be closed and an appropriate
                     medical professional shall evaluate the prisoner to confirm death.
                     The curtain shall then be re-opened and the Warden shall announce
                     the time of death. In the event that the appropriate medical
                     professional cannot confirm that death has occurred, the curtain

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                  shall be reopened until an appropriate time has passed to reevaluate
                  the prisoner.

   (Ohio Execution Protocol, 01-COM-11, ECF No. 667-1, PageID 19829.)

          The Magistrate Judge believes the proper interpretation of the text is that a medical

   professional “confirms death,” which is to say applies appropriate medical criteria to determine

   whether death has occurred. When the coroner makes that determination, the Warden announces

   the time. In other words, the coroner reads the bodily signs and the Warden reads a clock.

          Plaintiffs further object that not only is the Eighth Amendment right to be free from severe

   pain and needless suffering involved, but also a declaration that a person is dead when he is not

   violates his right to be treated with the dignity appropriate to a human being (Objections, ECF No.

   1459, PageID 55476, citing State v. Broom, 146 Ohio St. 3d 60, 70 (2016); Hope v. Pelzer, 536 U.S.

   730, 738 (2002); Trop v. Dulles, 356 U.S. 86, 100 (1958) (lead opinion); and Wilkerson v. State of

   Utah, 99 U.S. 130, 134–35 (1878). The Magistrate Judge agrees. But none of these cases suggests

   that this Court should constitutionalize the Ohio definition of death statute. There is no showing that

   statute was enacted to protect any Eighth Amendment right and that deviation from it would be

   prohibited by the Equal Protection Clause.



          Sub-claim A.6: Human Experimentation



          In their sixth Equal Protection burden on fundamental rights sub-claim, Plaintiffs assert

   that there exist state and federal laws as well as several ODRC policies prohibiting experimentation

   on non-consenting humans, and that Defendants will use drugs for execution experimentally

   (4AOC, ECF No. 1252, ¶¶ 1329, 1398-1402). The Report recommended dismissal. Having




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   reviewed Plaintiffs’ objections to the Report, the Magistrate Judge concludes the analysis set forth

   there does not need amplification.



          Sub-claim A.7: Disparate Medical Treatment



          In their seventh Equal Protection fundamental rights sub-claim, Plaintiffs allege

   Defendants will treat them disparately from other persons in ODRC custody who require medical

   care by failing to provide that care after a Plaintiff has been injected with lethal drugs and declared

   dead, but when he is in fact not dead under Ohio Revised Code § 2108.40.

          The Report recommended dismissal because the Defendants have a rational basis for not

   providing Plaintiffs with the same medical treatment as other inmates: Defendants are under court

   order to kill a person set for execution (Report, ECF No. 1429, PageID 55249).

          Plaintiffs object that when an inmate has been declared dead by the coroner, the sentence

   of death is complete, but that such an inmate will not be dead under the Ohio definition of death

   statute and will therefore be entitled to resuscitative medical care, just like any other inmate who

   suffers a near-death medical emergency. This argument again attempts to constitutionalize the

   Ohio statute which was not adopted to protect persons from cruel and unusual punishment. On

   that basis, sub-claim A.7 should be dismissed.




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              Sub-claim A.8: Use of Midazolam as the Initiatory Drug



              In their eighth Equal Protection fundamental rights sub-claim, Plaintiffs assert Defendants

   will violate their Equal Protection rights by using midazolam at the initiatory drug because of its

   different effects on different people.

              The Report recommended dismissal of this claim as follows:

                      This claim is precluded by precedent. Fears v. Morgan (In re: Ohio
                      Execution Protocol), 860 F.3d 881 (6th Cir. Jun 28, 2017)(en banc);
                      In re Ohio Execution Protocol Litig. (Campbell & Tibbetts), ___
                      F.3d ___, 7 2018 U.S. App. LEXIS 2464 (6th Cir. Feb. 1, 2018). Sub-
                      claim 8 should be dismissed on this basis.

   (ECF No. 1429, PageID 55250.)

              Plaintiffs correctly object that the Sixth Circuit did not hold that midazolam as the initiatory

   drug is constitutional as a matter of law, but the evidence can change. That observation is correct

   but not dispositive. As Plaintiffs have repeatedly reminded the Court, the Eleventh Amendment

   and Equal Protections analyses are analytically distinct and the legal question at issue in both of

   the cited appeals was an Eighth Amendment claim about midazolam. However, Sub-claim A.8

   does not state a claim for relief which meets the standard of Twombly/Iqbal because it is not

   plausible and indeed Plaintiffs do not plead that the Defendants chose midazolam because it has

   different effects on different people.



              Sub-claim A.9: Compounded Execution Drugs



              In their ninth Equal Protection sub-claim, Plaintiffs allege that variations in compounded


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       Now reported at 881 F.3d 447.

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   drugs make them unconstitutional to use in executions because the regulatory mechanisms

   involved with manufactured drugs will not be applied and the unwillingness of reputable

   pharmacies to compound drugs for execution purposes increases the risks of an unconstitutional

   execution, indeed creates “a substantial, objectively intolerable risk.” (ECF No. 1252, PageID

   45759, ¶ 1424.)

          The Report recommended dismissing this claim because “Plaintiffs do not plead and cannot

   show that regulations on compounded drugs were adopted to prevent violations of the Eighth

   Amendment.”

          Plaintiffs object that there are other fundamental rights involved as well “including the

   rights affected or protected by the various drug laws.” (ECF No. 1459, PageID 55483.) For the

   reasons given above, those are not fundamental rights “implicit in the concept or ordered liberty.”


          Sub-claim B.2: Equal Protection Class-of-One Violation in Application of the Ohio
          Execution Statute.


          In sub-claim B.2, Plaintiffs assert that each of them will, as a class-of-one, be subjected to

   unconstitutional application of the Ohio execution statute, Ohio Revised Code § 2949.22 (4AOC,

   ¶¶ 1465-66). The Report recommended dismissing this claim on the same basis as sub-claim A.2,

   to wit, that the Fourteenth Amendment does not constitutionalize the Ohio execution statute and

   therefore this sub-claim does not state a claim upon which relief can be granted under 42 U.S.C. §

   1983 per the Twombly/Iqbal standard (ECF No. 1429, PageID 55254).

          Plaintiffs object that class-of-one analysis does not require an allegation of infringement

   on a fundamental right, but only that a particular body of law, here the Ohio execution statute, will

   be applied to a particular plaintiff “and alleging arbitrary, irrational, intentional, and/or reckless

   disparate application of that body of law” (ECF No. 1459, PageID 55486). No authority is cited

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   in the Objections, but in their Memorandum in Opposition, they argued this issue at some length

   (ECF No. 1406, PageID 52380-90). That argument requires additional analysis here.

                  To establish a claim for relief under the Equal Protection Clause, a
                  plaintiff must demonstrate that the government treated the plaintiff
                  disparately as compared to similarly situated persons and that such
                  disparate treatment either burdens a fundamental right, targets a
                  suspect class, or has no rational basis. Id.; see also TriHealth, Inc.
                  [v. Board of Comm’rs], 430 F.3d [783,] 788 [(6th Cir. 2005)].

   Club Italia Soccer & Sports Org., Inc. v. Charter Twp. of Shelby, Mich., 470 F.3d 286, 298 (6th

   Cir. 2006).

          The Supreme Court has recognized that an equal protection claim can be brought on behalf

   of a class of one “where the plaintiff alleges that she has been intentionally treated differently from

   others similarly situated and that there is no rational basis for the difference in treatment.” Village

   of Willowbrook v. Olech, 528 U.S. 562, 564 (2000), citing Sioux City Bridge Co. v. Dakota Cty.,

   260 U.S. 441 (1923); Allegheny Pittsburgh Coal Co. v. Commission of Webster Cty., 488 U.S. 336

   (1989). Plaintiffs assert that intentional discrimination is not required for a class-of-one claim

   (Memo in Opp., ECF No. 1406, PageID 52381), but that assertion is plainly belied by the language

   just quoted from Olech, a principal case on which the Plaintiffs rely, id. at PageID 52382-83.

   Putting it a different way, they assert there is “no scienter requirement for alleging an equal

   protection claim.” Id. Intentionality, however, is a scienter requirement. In Olech, the Court

   pretermitted any discussion of whether a plaintiff had to plead and prove subjective ill will. It

   wrote, in language emphasized by Plaintiffs:

                  The complaint also alleged that the Village's demand was “irrational
                  and wholly arbitrary” and that the Village ultimately connected her
                  property [to the municipal water supply] after receiving a clearly
                  adequate 15-foot easement. These allegations, quite apart from the
                  Village's subjective motivation, are sufficient to state a claim for
                  relief under traditional equal protection analysis. We therefore

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                   affirm the judgment of the Court of Appeals, but do not reach the
                   alternative theory of “subjective ill will” relied on by that court.

   528 U.S. at 565.

           Plaintiffs also rely on Davis v. Prison Health Services, 679 F.3d 433 (6th Cir. 2012), as

   supporting lack of a scienter requirement in class-of-one cases, but it does not. Rather, the Davis

   court quoted the language from Olech: a class-of-one plaintiff must allege she was intentionally

   treated differently from other similarly situated persons. Id. at 441.

           Plaintiffs rely further on Bible Believers v. Wayne County, 805 F.3d 228 (6th Cir. 2015).

   Nothing in that opinion suggests that there is no scienter requirement for a class-of-one claim; in

   fact, Bible Believers was a burden on fundamental rights (speech) case. Id. at 257.

           With this background, it is necessary to evaluate sub-claim B.2 under the Twombly/Iqbal

   standard. It fails that test. Plaintiffs are all similarly situated in that they are all subject to death

   sentences imposed by Ohio courts and they are all subject to execution under Ohio Revised Code

   § 2949.22. But the Fourth Amended Omnibus Complaint does not allege a plausible violation of

   Plaintiffs Equal Protection rights in the application of that statute. Plaintiffs do not allege that any

   one of them has already received disparate treatment under that statute or that any one of them has

   been threatened with being treated differently from the others.

           To the extent that the Fourth Amended Omnibus Complaint is intended to allege that

   Defendants may “deviate” from the statute by providing a particular Plaintiff with a less quick or

   more painful execution than another Plaintiff, negligent deviation from the statutory requirements

   is not actionable under the Equal Protection Clause. Rather, as held by Olech, the disparate

   treatment must be intentional.

           Because sub-claim B.2 does not plausibly allege that any one of the Plaintiffs will be

   intentionally treated differently from any of the others, it fails to state a claim on which relief can

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   be granted under 42 U.S.C. § 1983. The analysis provided in the Report that the Equal Protection

   Clause does not constitutionalize Ohio Revised Code § 2949.22 remains applicable here as well.


         Sub-claim B.3: Equal Protection Class-of-One Violation in Application of the Federal
   and State Drug Control Laws


          In their third class-of-one sub-claim, Plaintiffs allege Defendants will violate their equal

   protection rights on a class-of-one basis by “intentionally and/or recklessly” treating any one of

   them differently from others similarly situated by violating federal or state drug control laws in

   their executions (4AOC, ECF No. 1252, ¶¶ 1467-1474). The Report recommended dismissing

   sub-claim B.3 “on the same basis as sub-claim A.4.” (ECF No. 1429, PageID 55254).

          Plaintiffs object by incorporating the objections they made with respect to sub-claim B.2

   ((ECF No. 1459, PageID 55488). The analysis offered above as to sub-claim B.2 is therefore also

   applicable here.



          Sub-claim B.4: Equal Protection Class-of-One Violation in Application of Ohio’s
   Definition of Death Statute


          In their fourth class-of-one equal protection sub-claim, Plaintiffs alleged Defendants will

   violate their equal protection rights on a class-of-one basis by “intentionally and/or recklessly”

   applying to him Ohio’s definition of death statute. That is, they will declare him dead and dispose

   of his body when he will still be statutorily and medically alive (4AOC, ECF No. 1252, ¶¶ 1475-

   77). The Report recommended dismissing this sub-claim on the same basis as sub-claim A.5 (ECF

   No. 1429, PageID 55254).

          Plaintiffs incorporate by reference the objections made as to sub-claims B.2 and B.3. The

   analysis offered above as to sub-claims B.2 and B.3 is therefore also applicable here.

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         Sub-claim B.5: Equal Protection Class-of-One Violation in Application of Federal
   and State Laws Prohibiting Non-Consenting Human Experimentation


          In their fifth class-of-one equal protection sub-claim, Plaintiffs allege Defendants will

   violate their equal protection rights on a class-of-one basis by “intentionally and/or recklessly”

   subjecting him to human experimentation without his consent on a disparate basis from those

   similarly situated (4AOC, ECF No. ¶¶ 1478-80). The Report recommended dismissing this sub-

   claim on the same basis as sub-claim A.6 (ECF No. 1429, PageID 52555)

          Plaintiffs object on the same basis as their objections to sub-claims B.2 and B.3 (ECF No.

   1459, PageID 55848-89). The analysis offered above as to sub-claims B.2 and B.3 is therefore

   also applicable here.



         Sub-claim B.6: Equal Protection Class-of-One Violation in Disparate Denial of
   Necessary Medical Care and Permitting a Lingering Death


          In their sixth class-of-one sub-claim, Plaintiffs allege Defendants will treat one or more of

   them disparately in violation of their equal protections rights by “intentionally and/or recklessly, .

   . failing to provide the necessary medical care and permitting a lingering death instead.” (4AOUC,

   ECF No. 1252, ¶¶ 1481-84.) The Report recommended dismissing this sub-claim on the same

   basis as sub-claim A.7 (ECF No. 1429, PageID 52555).

          Plaintiffs object on the same basis as their objections to sub-claims B.2 and B.3 (ECF No.

   1459, PageID 55489). The analysis offered above as to sub-claims B.2 and B.3 is therefore also

   applicable here.




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   Sub-claim B.7: Equal Protection Class-of-One Violation By Using Midazolam as the
          Initiatory Drug Because of its Variable Effects on Different Individuals


          In their seventh class-of-one sub-claim, Plaintiffs allege that, because midazolam has

   “unavoidable variation” in its effects on individuals, its use as the initiatory drug in the present

   Execution Protocol constitutes an intentional disparate treatment of any one of them as compared

   with others similarly situated (4AOC, ECF No. 1253, ¶¶ 1485-88). The Report recommended

   dismissing this sub-claim on the same basis as sub-claim A.8 (ECF No. 1429, PageID 52555).

          Plaintiffs object on the same basis as their objections to sub-claims B.2 and B.3 (ECF No.

   1459, PageID 55489). The analysis offered above as to sub-claims B.2 and B.3 is therefore also

   applicable here.



   Fifth Cause of Action: Ninth Amendment Violations



          In their Fifth Cause of Action, Plaintiffs allege that their executions will violate their

   “fundamental, unenumerated rights arising under the principles of liberty and/or natural law that

   are secured by the Ninth Amendment,” including their right to privacy, personal dignity, bodily

   integrity, and not to be the subject of forced involuntary human experimentation (4AOC, ECF No.

   1252, PageID 45778-79, ¶¶ 1497-98).

          The Report recommended dismissal of this Fifth Cause of Action on the basis of the

   authority cited for dismissing a parallel claim made by Plaintiffs Raymond Tibbetts and Gary Otte

   (ECF No. 1429, PageID 55256). See In re Ohio Execution Protocol Litig. (Tibbetts & Otte), 2017

   U.S. Dist. LEXIS 107468, 2017 WL 2964901 (S.D. Ohio Jul 12, 2017).




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          Plaintiffs object that in the cited decision, the Magistrate Judge “misstated the nature of

   Plaintiffs’ claims” (Objections, ECF No. 1459, PageID 55491). The Magistrate Judge had relied

   on circuit precedent, Gibson v. Matthews, 926 F.2d 532 (6th Cir. 1991). Plaintiffs object that

   Gibson is not controlling because the circuit court was only deciding in that case whether certain

   rights were “clearly established” for purposes of qualified immunity. Instead, Plaintiffs say they

   are relying on “other portions of our governing law” and “[t]he fact that certain unenumerated, but

   nevertheless enforceable, rights exist is not a controversial one. See Griswold v. Connecticut, 381

   U.S. 479, 493 (1965) (Goldberg, J., concurring); McDonald v. City of Chicago, [561 U.S. 742,

   863,]130 S. Ct. 3020, 3091 (2010) (Stevens, J., dissenting).” (Objections, ECF No. 1459, PageID

   55491).   Plaintiffs also incorporate the reasons previously stated in their Memorandum in

   Opposition. Id., citing ECF No. 1406, PageID 52397-402.

          Gibson was brought under 42 U.S.C. § 1983 to obtain redress for the actions of various

   federal officials whom she claimed violated her Fifth, Eighth, and Ninth Amendment rights when

   they did not assist Gibson, a federal prisoner, in obtaining an abortion. The case was before the

   Sixth Circuit on appeal from summary judgment granted to the defendants. In affirming, the Sixth

   Circuit, per Judge Boggs, held “we agree with the district court that Gibson's complaint does not

   state a constitutional violation, and we also hold that the defendants are entitled to qualified

   immunity.” 926 F.2d at 533. “We would uphold the district court even if qualified immunity was

   [sic] not available.” Id. at 536. As to the Ninth Amendment claim, the court held

                  We agree with the district court that the ninth amendment does not
                  confer substantive rights in addition to those conferred by other
                  portions of our governing law. The ninth amendment "was added to
                  the Bill of Rights to ensure that the maxim expressio unius est
                  exclusio alterius would not be used at a later time to deny
                  fundamental rights merely because they were not specifically
                  enumerated in the Constitution." Charles v. Brown, 495 F. Supp.


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                   862, 863-64 (N.D. Ala. 1980). Accordingly, Gibson's ninth
                   amendment claim holds no merit.

   Id. at 537. Thus Plaintiffs’ claim that Gibson merely deals with qualified immunity is wrong and

   Gibson is dispositive.

          Plaintiffs criticize the Report for not analyzing their Fifth Cause of Action as presented and

   again rely on Griswold v. Connecticut, supra. Griswold involved an appeal by the executive and

   medical directors of Planned Parenthood of their convictions for being accessories to violation of

   the Connecticut prohibition on use of contraceptives by married persons.             The claim of

   unconstitutionality was grounded in the Fourteenth Amendment with the suggestion that Lochner

   v. New York, 198 U.S. 45 (1905), should guide the decision, but the Court rejected that suggestion.

   Instead, Justice Douglas noted that there were a number of rights not mentioned in the Constitution

   which had nonetheless been held to be protected: the right of association of people, the right to

   educate a child in a school of the parents’ choice, and the right to study a foreign language. 381

   U.S. at 482. Justice Douglas found the right of privacy invaded by the offending statute to be

   protected by “penumbras” from the First, Third, Fourth, and Fifth Amendments. Id. at 485.

          Although Justice Douglas mentioned the Ninth Amendment, the majority did not rely on

   that amendment as generating the right to marital privacy. In concurrence, Justice Goldberg noted

   Madison’s explanation of his draft of the Ninth Amendment which is consistent with Judge Boggs’

   statement in Gibson: it avoids any implication, potentially fostered by the expressio unius maxim,

   that there are no other rights protected from federal invasion besides those enumerated in the

   Constitution.   Id. at 488.   Goldberg also cites Justice Story to the same effect. II Story,

   Commentaries on the Constitution of the United States 626-27 (5th edition 1891). Goldberg

   emphasized he was not endorsing Justice Black’s “incorporation” position in Adamson v.

   California, 332 U.S. 46, 69 (1947), implying that the Ninth Amendment is applicable to the States

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   through the Fourteenth, nor stating that the Ninth Amendment “constitutes an independent source

   of rights protected from infringement by either the States or the Federal Government.” Griswold,

   381 U.S. at 492. He did not suggest that recognition of fundamental rights was to be left to judges

   “in light of their personal and private notions.”

                  Rather, they must look to the "traditions and (collective) conscience
                  of our people" to determine whether a principle is "so rooted (there)
                  . . . as to be ranked as fundamental." Snyder v. Massachusetts, 291
                  U.S. 97, 105. The inquiry is whether a right involved "is of such a
                  character that it cannot be denied without violating those
                  'fundamental principles of liberty and justice which lie at the base of
                  all our civil and political institutions' . . . ." Powell v. Alabama, 287
                  U.S. 45, 67.

   Griswold, 381 U.S. at 493 (parallel citations omitted). He concluded that the right to marital

   privacy was such a right.

          In their Memorandum in Opposition, Plaintiffs point to no indicia in the traditions or

   collective conscience of the American people that recognize rights to personal dignity, bodily

   integrity, and not to be the subject of forced involuntary human experimentation which would be

   violated by execution pursuant to the Execution Protocol. And they fail to note that those

   unenumerated rights which have been held to be constitutionally protected are in fact protected

   under the substantive branch of the Due Process Clause, not the Ninth Amendment.

          On the basis of this analysis, the Magistrate Judge again concludes the Fifth Cause of

   Action should be dismissed.




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   Sixth Cause of Action: First Amendment Free Speech Violations



          In their Sixth Cause of Action, Plaintiffs claim that the restrictions placed on their “last

   words” violate their rights under the First, Ninth, and Fourteenth Amendments (ECF No. 1252,

   PageID 45782-84, ¶¶ 1506-19). The Report recommended dismissal of this claim because

   “Plaintiffs do not claim they are threatened with anything like a plausibly unconstitutional

   limitation on their last words.” (ECF No. 1429, PageID 55257.)

          Plaintiffs object that the Magistrate Judge “erroneously imposed a heightened standard.”

   (ECF No. 1459, PageID 55492.) That is, “the Magistrate Judge made the same fundamental error

   here as in those previous opinions [In re: Ohio Execution Protocol Litig. (Tibbetts & Otte), 2017

   U.S. Dist. LEXIS 107468 (S.D. Ohio July 12, 2017); and In re: Ohio Execution Protocol Litig.

   (Campbell), 2017 WL 3479589 (S.D. Ohio Aug. 14, 2017)]: he assessed the merits of the claim

   rather than its sufficiency to survive a motion to dismiss.” (Objections, ECF No. 1459, PageID

   55492 and 55495.) “Rather,” Plaintiffs object, “at this stage the Magistrate Judge was required to

   accept as true Plaintiffs’ factual allegations, and assess only the legal sufficiency of the claim as

   pleaded.” Id. at PageID 55495-96.

          Plaintiffs’ Sixth Cause of Action comprises ¶¶ 1506-19 of the Fourth Amended Omnibus

   Complaint. The only statement of historical fact in these paragraphs is that the Execution Protocol

   “places restrictions on the length and content of an inmate’s last statement.” (ECF No.1252,

   PageID 45782, ¶ 1507.) Actually, the Protocol provides:

                  10. Last Words

                  The Warden shall ask the prisoner if he or she has any last words. It
                  the prisoner has a last statement, he or she will be allowed to make
                  it while the witnesses are present in the adjacent viewing rooms, are
                  able to see him or her and hear him or her via microphone.

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                  a.      There shall generally be no restriction on the content of the
                  prisoner’s statement and no unreasonable restriction on the duration
                  of the prisoner’s last statement.

                  b.      The Warden may impose reasonable restrictions on the
                  length of the statement. The Warden may also terminate a statement
                  that he or she believes is intentionally offensive to the witnesses.

   (Ohio Execution Protocol, 01-COM-11, ECF 667-1, PageID 19827.)

   Thus the Protocol is appropriately read as conferring discretionary authority on the SOCF Warden

   to impose reasonable restrictions.

          Judge Frost dealt with a challenge to this provision and held granting authority to the

   Warden to terminate the last statement by turning off the microphone if the statement became

   offensive was a reasonable restriction on the prisoner’s speech. In re Ohio Execution Protocol

   Litig. (Wiles), 868 F.Supp. 2d 625 (S.D. Ohio 2012). Plaintiffs’ distinguish Wiles as an equal

   protection decision and note that they are here making a direct First Amendment claim (Memo. In

   Opp., ECF No. 1406, PageID 52401). The Report recognized that distinction, but noted that Judge

   Frost has also held the underlying First Amendment claim was without merit because the

   restriction was reasonable. (Report, ECF No. 1429, PageID 55256, citing Wiles, 868 F. Supp 2d

   at 649-50.) Wiles did not appeal.

          In the two decisions of the undersigned on this claim, the First Amendment was plainly at

   issue. In Tibbetts & Otte, supra, the Court dismissed the Sixth Cause of Action which was

   precisely parallel to the claim raised here in the Fourth Amended Omnibus Complaint. Those two

   Plaintiffs cited the same deposition testimony of Warden Erdos about how he might exercise his

   discretion under the Protocol; the Court concluded those were “not unreasonable regulations in




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   this context.” 2017 U.S. Dist. LEXIS 107468 at *42. Alva Campbell’s parallel Sixth Cause of

   Action was dismissed on the same basis. Campbell, supra, at *6.

          The Report recommended dismissing the Sixth Cause of Action as follows:

                 As with the two prior decisions, the question is here before the Court
                 on a motion to dismiss under Fed. R. Civ. P. 12(b)(6) for failure to
                 state a claim. Thus the Twombly/Iqbal plausibility standard applies.
                 It is possible to imagine content and length restrictions on a last
                 statement which would offend the Constitution, e.g., if an inmate
                 were not permitted to say anything unless he first confessed to the
                 crime or if he were limited to ten words. But Plaintiffs do not claim
                 they are threatened with anything like a plausibly unconstitutional
                 limitation on their last words. Therefore the Sixth Cause of Action
                 should be dismissed.

   (ECF No. 1429, PageID 55257.)

          Plaintiffs argue that the Report improperly reaches the merits of their claim and that the

   Court must instead accept as true all of the facts that are pleaded (Objections, ECF No. 1459,

   PageID 55492). But the only factual allegation that the Fourth Amended Omnibus Complaint

   makes is as to the content of the Protocol on this topic and both Judge Frost and the undersigned

   have already found that content to be constitutional, even with the hypothetical additional

   restrictions from Warden Erdos’s testimony.

                 Factual allegations must be enough to raise a right to relief above
                 the speculative level, see 5 C. Wright & A. Miller, Federal Practice
                 and Procedure § 1216, pp. 235-236 (3d ed.2004)(“[T]he pleading
                 must contain something more ... than ... a statement of facts that
                 merely creates a suspicion [of] a legally cognizable right of action”),
                 on the assumption that all the allegations in the complaint are true
                 (even if doubtful in fact), see, e.g., Swierkiewicz v. Sorema N. A.,
                 534 U.S. 506, 508, n. 1, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002);
                 Neitzke v. Williams, 490 U.S. 319, 327, 109 S.Ct. 1827, 104 L.Ed.2d
                 338 (1989)(“Rule 12(b)(6) does not countenance ... dismissals based
                 on a judge's disbelief of a complaint's factual allegations”); Scheuer
                 v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 40 L.Ed.2d 90 (1974)

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                   (a well-pleaded complaint may proceed even if it appears “that a
                   recovery is very remote and unlikely”).

   Bell Atlantic Corp. v. Twombly, 550 U.S.544, 555 (2007).

                   [W]hen the allegations in a complaint, however true, could not raise
                   a claim of entitlement to relief, “‘this basic deficiency should ... be
                   exposed at the point of minimum expenditure of time and money by
                   the parties and the court.’” 5 Wright & Miller § 1216, at 233-234
                   (quoting Daves v. Hawaiian Dredging Co., 114 F.Supp. 643, 645
                   (D. Hawaii 1953) ); see also Dura [Pharmaceuticals, Inc. v. Broudo,
                   544 U.S. 336, 125 S.Ct. 1627, 161 L.Ed.2d 577 (2005)], at 346, 125
                   S.Ct. 1627; Asahi Glass Co. v. Pentech Pharmaceuticals, Inc ., 289
                   F.Supp.2d 986, 995 (N.D.Ill.2003) (Posner, J., sitting by
                   designation) (“[S]ome threshold of plausibility must be crossed at
                   the outset before a patent antitrust case should be permitted to go
                   into its inevitably costly and protracted discovery phase”).

   Twombly, 550 U.S. at 558; see also Association of Cleveland Fire Fighters v. City of Cleveland,

   Ohio, 502 F.3d 545 (6th Cir. 2007). “To survive a motion to dismiss, a complaint must contain

   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face,’”

   Doe v. Miami University, 882 F.3d 579, 588 (6th Cir. 2018), quoting Ashcroft v. Iqbal, 556 U.S.

   662, 678 (2009), in turn quoting Twombly, 550 U.S. at 570.

           Plaintiffs argue that the existence of the authority to restrict will have a chilling effect on

   their speech, will cause them to “self-censor.” (Objections, ECF No. 1459, PageID 55493). This

   is not plausible. The notion that a man whose execution is so imminent that he is already strapped

   to the gurney and has established IV sites would self-censor any more than not saying things

   offensive to the witnesses is not plausible and in any event is desirable self-censorship. The fact

   that one might be arrested for causing panic by falsely yelling “fire” in a crowded theater hopefully

   deters people from doing just that. The State does nothing to prevent a death row inmate from

   saying whatever he wants up until the time when the execution is set to take place. It is not obliged


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   by the First Amendment to continue to supply him with a microphone with which to harass a

   captive audience.

          The restrictions which the SOCF Warden is authorized to impose are reasonable time,

   manner, and place limitations on an inmate’s speech. Plaintiffs have not pleaded any facts which,

   if proved, would make those restrictions unconstitutional. The Plaintiffs point to the Magistrate

   Judge’s imagining possible unconstitutional restrictions as if that were the end of the analysis, but

   those hypotheticals are not facts pleaded by the Plaintiffs.

          Because the “last words” section of the Protocol permits reasonable regulation of an

   inmate’s speech, the Sixth Cause of Action should be dismissed.



   Seventh Cause of Action: Fourteenth Amendment Due Process Violation



          In their Seventh Cause of Action, Plaintiffs claim they have a due process right to notice

   of the method of execution Defendants intend to employ as to each Plaintiff in turn, including

   identification of the source of any execution drugs (4AOC, ECF No. 1252, PageID 45784-89, ¶¶

   1520-40).

          The Report recommended dismissing the notice-of-method claim because there is no

   constitutional right to a firm deadline on changes in method and the drug source claim on the basis

   of Fears v. Kasich, 845 F.3d 231 (6th Cir. 2016)(Report, ECF No. 1429, PageID 55257-59).

          The Report recognized a right to timely notice of method, following First Amendment

   Coal. Of Ariz., Inc. v. Ryan, 188 F. Supp. 3d 940 (D. Ariz. 2016). The Protocol promises timely

   notice, but Plaintiffs say this is illusory without a firm deadline. However, they point to no

   constitutional authority for a requiring a firm deadline, either in the execution context or any other.



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   Moreover, Plaintiffs cite no past instance where they have not actually received notice in time to

   challenge the manner of execution. Given this Court’s practice of being available to the parties on

   execution dates and the authority of the Court to enjoin an execution if an unconstitutionally short

   amount of notice of a change has been given, their claim that the Fourteenth Amendment requires

   a firm date should be rejected.

          As to the drug source claim, Plaintiffs assert it is not precluded by Fears v. Kasich, supra.,

   because that case involved an assertion that Judge Frost has abused his discretion in entering a

   protective order to prevent discovery of drug source identities (Objections, ECF No. 1459, PageID

   55499). In Phillips v. Dewine, 841 F.3d 505 (6th Cir. 2016), the court upheld Judge Frost’s

   dismissal of a constitutional challenge to Sub. H.B. 663. Judge Frost had held “that the Plaintiffs

   had no constitutional right to the information they claimed they were being deprived of and that

   their First, Fifth, and Fourteenth Amendments claims failed because they were premised on such

   a right.” Id. at 413, citing Phillips v. Dewine, 92 F. Supp. 3d 702, 714-16 (S.D. Ohio 2015). The

   Sixth Circuit affirmed, holding

                  On appeal, the Plaintiffs contend that the district court erred in
                  dismissing their Equal–Protection, Due–Process, and Right–of–
                  Court–Access Claims. As the basis for these claims, the Plaintiffs
                  argue that HB 663 prevents them from bringing an effective
                  challenge to Ohio's execution procedures. Specifically, they
                  maintain that HB 663 “denies [them] an opportunity to discover and
                  litigate non-frivolous claims.” But no constitutional right exists to
                  discover grievances or to litigate effectively once in court. Lewis v.
                  Casey, 518 U.S. 343, 354, 116 S.Ct. 2174, 135 L.Ed.2d 606 (1996);
                  Hill v. Dailey, 557 F.3d 437, 439 (6th Cir. 2009). The Plaintiffs have
                  not pointed to any decision recognizing claims similar to the ones
                  they propose. In fact, federal courts have repeatedly rejected such
                  theories. See Zink, 783 F.3d at 1108–09; Wellons, 754 F.3d at 1267;
                  Sepulvado v. Jindal, 729 F.3d 413, 420 (5th Cir. 2013); Williams v.
                  Hobbs, 658 F.3d 842, 852 (8th Cir. 2011); Giarratano v. Johnson,
                  521 F.3d 298, 306 (4th Cir. 2008); see also Jones v. Comm'r,

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                  Georgia Dep't of Corr., 812 F.3d 923 (11th Cir. 2016) (Marcus, J.,
                  concurring in the denial of rehearing en banc) (rejecting an “abstract
                  and inchoate due process right to discover the identity of the source
                  of the drugs and the name of the executioner so that [an inmate] may
                  challenge [a state's] execution protocol”). Therefore, the district
                  court did not err in dismissing these claims.


   841 F.3d at 420. Fears, supra, cited Phillips v. DeWine approvingly. Based on this authority, the

   drug source prong of the Seventh Cause of Action should be dismissed.



   Eighth Cause of Action: Fourteenth Amendment Due Process Violations for Experimenting
   on Non-Consenting Prisoners



          In their Eighth Cause of Action, Plaintiffs assert that their executions pursuant to the

   Execution Protocol will constitute unconstitutional human experiments in violation of the

   substantive portion of the Due Process Clause of the Fourteenth Amendment (ECF No. 1252,

   PageID 45789-95, ¶¶ 1541-69). They assert “[b]ecause of the lack of data, studies, physician

   expertise, and the variability of human response, every lethal injection that Defendants conduct is a

   human experiment.” Id. at ¶ 1553.

          The Report recommended dismissal of the Eighth Cause of Action “because the conduct of

   executions in the various ways permitted by 01-COM-11 do [sic] not constitute experiments on non-

   consenting human subject of the sort condemned by the laws cited by Plaintiffs or by the Due Process

   Clause of the Fourteenth Amendment.” (ECF No. 1429, PageID 55261.)

          Plaintiffs object that the Magistrate Judge improperly limited the analysis to “medical”

   experimentation, whereas they challenged the Execution Protocol for “pharmaceutical”

   experimentation as well. But the same analysis applies: the State of Ohio is not engaged in

   “experimentation” when it carries out the execution process.

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              Plaintiffs cite no case in which a court has held that the execution process involves human

   experimentation, medical or pharmaceutical, of the sort prohibited by the Fourteenth Amendment.

   Instead, they cite “State Departments of Corrections Are Violating FDA’s Investigational New Drug

   Regulations By Experimenting with Lethal Injection Drugs (2014).” 8 No single author produced this

   paper. Instead, the reader is informed that the paper is the collective work of the Clinic for Public

   Health Law and Policy of the Johns Hopkins Bloomberg School of Public Health. Id., cover page.

   The research was suggested by Jonathan Zenilman, a professor of medicine at Johns Hopkins, who

   hypothesized that “lethal injections might constitute human research subject to federal regulation.”

   Id. The paper begins with Judge Frost’s description of the use of the two-drug protocol in the

   McGuire execution as an “experiment.” Id. at p. 1. For reasons explained in the Report and in

   other decisions in this case, the Magistrate Judge believes it is the fallacy of equivocation to take

   that word from Judge Frost’s decision and apply it in other contexts where the word “experiment”

   is used.

           The authors note that a direct challenge to Department of Corrections’ policies under the

   federal statutes involved have generally been unsuccessful. Id. at pp. 3-4. While disclaiming any

   effort to offer litigation strategy, the authors argue that the jurisdictional problems under the

   statutes could be avoided by bringing claims directly under the Fourteenth Amendment, as

   Plaintiffs have done here. Offering no court authority for the proposition, the authors then assert

   that the duties imposed by these federal statutes are subsumed within the Eighth and Fourteenth

   Amendments. Id. at p. 5. But the Fourteenth Amendment no more constitutionalizes federal

   statutory processes than it does state procedural requirements.




   8
    Available at https://www.jhsph.edu/research/centers-and-institutes/center-for-law-and-the-publics-health/Lethal%
   20Injection%20Policy%20Paper%20Final.pdf (visited May 1, 2018).

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          The authors cite Ohio Adult Parole Authority v. Woodard, 523 U.S. 272 (1998), for the

   proposition that “a condemned prisoner maintains a constitutionally protected residual life

   interest” until death and the State’s efforts to deprive him of that interest “must comply with the

   requirements of due process.” While the general proposition is of course correct, it says nothing

   of the content of that due process requirement and particularly nothing about constitutionalizing

   the procedures prescribed in the drug control statutes.

          Based on this analysis, the Magistrate Judge again recommends the Eighth Cause of Action

   be dismissed.


   Ninth Cause of Action: Violations of the Privileges or Immunities Clause by Experimenting on
   Non-Consenting Prisoners



          In their Ninth Cause of Action, Plaintiffs assert that the Privileges or Immunities Clause of the

   Fourteenth Amendment is violated when they, as American citizens, are subjected to execution by the

   “experimental” use of drugs. The Report recommended dismissal of this claim because

                   none of the treaties cited in ¶ 1575 purports to prevent an American
                   State from executing an American citizen by using lethal drugs
                   “experimentally” in the way alleged by Plaintiffs. In other words,
                   the Ninth Cause of Action represents another equivocal use of the
                   word “experiment” that was rejected as to the First Cause of Action,
                   Sub-claim A.6, and the Eighth Cause of Action.

   (Report, ECF No. 1429, PageID 55262.)

          Because the Report depends on the Magistrate Judge’s interpretation of the word

   “experiment” in various contexts, Plaintiffs assert that violates the standard for review of a

   complaint under Fed. R. Civ. P. 12(b)(6). They claim they “are entitled to define their claim at the

   pleading stage; the Magistrate Judge is not permitted to redefine the terms of the claim, especially

   to defeat an otherwise well-pleaded claim.” (Objections, ECF No. 1459, PageID 55508-09, citing

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   Neitzke v. Williams, 490 U.S. 319, 327 (1989), which held Rule 12(b)(6) does not countenance . .

   . dismissal based on a judge’s disbelief of a complaint’s factual allegations.”

           What is involved here is not disbelief of any factual allegations, but interpretation of terms

   as they are used in the law. To allow a plaintiff to assert that “the law prohibits human

   experimentation” and then avoid 12(b)(6) analysis by saying “and experimentation means what I

   define it to mean,” would be to turn 12(b)(6) motions into Alice in Wonderland exercises. 9 Neitzke

   was decided while the governing standard for a 12(b)(6) motion was provided by Conley v. Gibson,

   355 U.S. 41, 45-46 (1957), which held that “a complaint should not be dismissed for failure to

   state a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support

   of his claim which would entitle him to relief.” But Conley was expressly overruled by Twombly

   and the test since then has been whether the complaint pleads plausible facts on which the law

   would grant relief. It is not the facts that are the problem with the two “experiment” claims, but

   the law.

           It is therefore again recommended that the Ninth Cause of Action be dismissed.



   Tenth Cause of Action: Violation of the Ex Post Facto Clause



           In their Tenth Cause of Action, Plaintiffs claim the present version of the Execution

   Protocol violates the Ex Post Facto Clause because elimination of the barbiturates formerly used

   and their replacement with midazolam, a paralytic, and potassium chloride increases the



   9 “When I use a word,” Humpty Dumpty said, in rather a scornful tone, “it means just what I choose it to mean—
   neither more nor less.” “The question is,” said Alice, “whether you can make words mean so many different things.”
   “The question is,” said Humpty Dumpty, “which is to be master—that’s all.” Lewis Carroll (Charles L. Dodgson),
   Through the Looking-Glass, chapter 6, p. 205 (1934). First published in 1872.


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   punishment for their crimes (4AOC, ECF No. 1252, ¶¶ 1584-1606). The Report recommended

   dismissing this cause of action because, based on the precedent cited, changing a method of

   execution does not violate the Ex Post Facto Clause or its Due Process analogue (ECF No. 1429,

   PageID 55262-65).

           Although Plaintiffs object, the Magistrate Judge does not believe further analysis is needed.



   Fourteenth Cause of Action: Substantive Due Process Violation



           In their Fourteenth Cause of Action, Plaintiffs claim their executions under the Execution

   Protocol will violate their substantive right under the Fourteenth Amendment to be free from

   government actions that shock the conscience or are arbitrary and capricious, particularly

   government actions that violate federal or state drug law and human experimentation law. (4AOC,

   ECF No. 1252, PageID 45805-09, ¶¶1610-33.) The Report recommended dismissal on the basis

   that “[v]iolations of state and federal law do not per se rise to the level of Due Process violations.”

   (ECF No. 1429, PageID 55266, citing Campbell & Tibbetts, supra, citing Levine v. Torvik, 986

   F.2d 1506, 1515 (6th Cir.1993), abrogated on other grounds by Thompson v Keohane, 516 U.S. 99,

   111 (1995) as recognized by Slaughter v. Parker, 450 F.3d 224 (6th Cir. 2006).

           Plaintiffs object that this analysis fails “to substantively engage” with the “pertinent

   question,” to wit, “whether, taking all the factual allegations as true, Plaintiffs have sufficiently

   pleaded that Defendants’ actions are adequately conscious-shocking [sic 10] to be a substantive due

   process violation.” (Objections, ECF No. 1459, PageID 55516.)




   10
     Plaintiff use the word “conscious” three times in one paragraph of their Objections. Surely they mean
   “conscience.” See Rochin v. California, 342 U.S. 165, 175-76 (1952).

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          In neither their Memorandum in Opposition (ECF No. 1406) nor their Objections (ECF

   No. 1459) do Plaintiffs offer any examples of conduct which has been held to shock the conscience

   and compare them with the conduct of Defendants. They claim adoption of midazolam as the

   initiatory drug and the breaking of federal and state laws in the process of executions shocks the

   conscience. Id. at 55516. But the Sixth Circuit held the use of midazolam as Defendants use it did

   not violate the Eighth Amendment and it is difficult to see how the Fourteenth Amendment test

   could be more exacting. Of course, it is possible that evidence will accumulate to the point that a

   different result would be required, but that would only be if the evidence were so persuasive that

   it would constitute willful ignorance to fail to consider it. The Magistrate Judge has refused to

   credit Plaintiffs’ claims that Defendants are breaking state and federal laws in their conduct of

   executions, but even if they were, not every act by a government actor later found to violate the

   law is so extreme as to shock the conscience.

          The Court should conclude that the conduct asserted by Plaintiffs to shock the conscience

   does not do so, at least not to the degree necessary to violate substantive due process requirements.



   Thirtieth Cause of Action: Fourteenth Amendment Due Process Violation For Failure To
   Comply With Federal Investigational New Drug Application Regulations With Respect To The
   Method And Choice Of Drug To Be Used In Plaintiff’s Execution.



          In their Thirtieth Cause of Action, Plaintiffs alleged Defendants violated Plaintiffs’ due

   process rights under the Fourteenth Amendment when they failed to comply with federal

   investigational new drug application regulations in choosing drugs for use in executions. (4AOC,

   ECF No. 1252, PageID 45852-59, ¶¶ 1827-1868.) The Report recommended dismissing this claim

   on the basis of the analysis of parallel claims in Tibbetts & Otte, supra, and Campbell, supra.



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          Plaintiffs correctly object that, to the extent the Report recommends dismissing this claim

   as to the Drug Source Defendants, it is premature because none of them have been served (ECF

   No. 1459, PageID 55518-19).        The Report does not distinguish among Defendants in its

   recommendation, but to the extent it can be read as recommending dismissal of this claim against

   the Drug Source Defendants, it is WITHDRAWN.

          Next Plaintiffs contend the Report misconstrues this claim: it is not about how the ODRC

   Defendants chose execution drugs (Objections, ECF No. 1459, PageID 55519). Rather, they say,

   “the issue in this claim is whether Defendants, in carrying out lethal injection execution of

   Plaintiffs, have followed the mandatory procedures that are contained in that statute [the FDCA –

   the Food, Drug, and Cosmetic Act] to protect the fundamental rights to safe and effective drugs

   enshrined in the statute.” (Objections, ECF No. 1459, PageID 55520.)

          This cause of action comprises ¶¶ 1827-68 of the Fourth Amended Omnibus Complaint.

   Paragraph 1828 asserts that no drug may be marketed or distributed in interstate commerce until

   the FDA has received and approved a new drug application (“NDA”) that “demonstrates the drug

   is safe and effective for a specific use or uses.” Succeeding paragraphs assert that Ohio has not

   received an approved NDA for any of the drugs listed in the Execution Protocol. Because using

   any of these drugs in an execution is not a use in the course of medical practice, Plaintiffs allege

   Ohio must submit an Investigational New Drug (“IND”) application for them, but it has not done

   so. Paragraph 1864 alleges that Plaintiffs have a due process right to have the IND regulations

   complied with.

          In the Report, in this Supplemental Report, and in analyzing parallel claims in other

   decisions, the Magistrate Judge had several times argued that the Due Process Clause does not

   constitutionalize procedures embodied in state or federal statutes, often citing Levine v. Torvik,



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   986 F.2d 1506 (6th Cir. 1993). Plaintiffs previously objected that Levine deals only with state

   statutes (Memo in Opp., ECF No. 1406, PageID 52448). While that is correct, Plaintiffs cite no

   authority for the proposition that federal statutory procedures are different for this purpose. In

   fact, there is abundant authority for the proposition that violations of procedures in federal statutes

   do not per se rise to the level due process violations. United States v. Caceres, 440 U.S. 741

   (1979); United States v. Powell, 847 F.3d 760, 771 (6th Cir. 2017); United States v. Thompson, 936

   F.2d 1249, 1251 (9th Cir. 1991).

           Instead, Plaintiffs argue that “the guarantees of safe and effective drugs, enshrined[ 11] in

   the FDCA, are so fundamental as to warrant Fourteenth Amendment Due Process protections.”

   (Objections, ECF No. 1459, PageID 55521.) They then catalogue various chapters in the nation’s

   history of drug regulation to the end of proving that having safe and effective drugs for the purpose

   of curing illness has been a national effort for many years (ECF No. 1406, PageID 52442-47).

   That argument is beside the point; executions are not about curing illness. Plaintiffs present no

   evidence that the FDCA or other federal drug laws were passed for the purpose of regulating drugs

   used for executions. There is no suggestion that any of these statutes or associated regulations are

   so deeply rooted in the traditions and mores of the American people as to be part of the concept of

   ordered liberty. The Fourteenth Amendment Due Process Clause does not incorporate the statutes

   and regulations relied on in the Thirtieth Cause of Action which should be dismissed.




   11
     The use of religious language here is puzzling. Provisions of statutes are “enacted,” not “enshrined.” The word
   “enshrined” must be intentional, however, because it is used to describe the statutory language in both the Memo in
   Opposition and the Objections (PageID 52442, PageID 55521).

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   Thirty-First Cause of Action: Equal Protection Violations Related To Defendants’ Failures To
   Comply With The IND Application Laws.



            In their Thirty-first Cause of Action, Plaintiffs allege their Equal Protection rights are violated

   when Defendants treat them differently from persons who are protected by the IND Application Laws.

   (4AOC, ¶¶ 1869-75.) The Report recommended dismissing this claim on the same basis as the

   Thirtieth Cause of Action (ECF No. 1429, PageID 55268).

            Plaintiffs object that the Magistrate Judge “erred as a matter of fundamental constitutional law

   by conflating Plaintiffs’ Due Process claims and their Equal Protection claims.” (Objections, ECF No.

   1459, PageID 55523.) Plaintiffs then characterize their Thirty-First Cause of Action as a class-of-one

   claim by relying on Village of Willowbrook v. Olech, 528 U.S. 562 (2000). Plaintiffs are correct that

   a separate analysis must be provided for their equal protection class-of-one theory. 12

            Paragraphs 1874 and 1875 of the Fourth Amended Omnibus Complaint read:

                     1874. Plaintiff is also a class of one, similarly situated with those
                     protected from harm as subjects of human experimentation and
                     clinical investigations by the federal IND application regulations.

                     1875. Defendants intentionally treat Plaintiff differently than
                     similarly situated individuals by their arbitrary and irrational failure
                     to follow the mandatory IND application regulations, thus
                     irrationally subjecting Plaintiff to a heightened risk that he will
                     suffer deprivations of his fundamental rights identified above
                     without legitimate or rational reason.

   (ECF No. 1252.) Certainly the claim that the ODRC Defendants have not and will not follow the IND

   application process as to Plaintiffs is plausible. But Plaintiffs, at least as of the time they come to be

   executed, are not similarly situated to non-capitally-sentenced persons in Director Mohr’s custody.



   12
     The analysis provided for the Thirtieth Cause of Action is applicable to the Thirty-First to the extent Plaintiffs are
   claiming they have a fundamental right to the protections of the IND application process which is protected under
   the Equal Protection Clause, to wit, there is no such fundamental right.

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           With respect to other prisoners and with respect to Plaintiffs until their time for execution

   comes, the ODRC Defendants have whatever obligations accrue under the IND application laws to

   anyone who is responsible for arranging the medical care of someone else. But when the time for

   execution comes, the legal duty of the ODRC Defendants is to kill the Plaintiff in question. It is

   certainly not irrational, arbitrary, or capricious to discriminate between those for whom one has a duty

   of medical care and those for whom one has a duty to execute.

           The Fourth Amended Omnibus Complaint fails to state a claim for relief in the Thirty-First

   Cause of Action in another way: it does not allege that the ODRC Defendants have irrationally,

   arbitrarily, capriciously, or indeed at all, chosen to comply with the IND application laws for some of

   the Plaintiffs and not for others.

           Based on this analysis, the Thirty-First Cause of Action should be dismissed.



   Conclusion



           For the reasons given, the Magistrate Judge adheres to the recommendations made in the

   original Report and recommends that the Objections of both Plaintiffs and Defendants be

   OVERRULED.



   May 8, 2018.

                                                                     s/ Michael R. Merz
                                                                    United States Magistrate Judge




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                               NOTICE REGARDING OBJECTIONS

   Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
   proposed findings and recommendations within fourteen days after being served with this Report
   and Recommendations. Such objections shall specify the portions of the Report objected to and
   shall be accompanied by a memorandum of law in support of the objections. If the Report and
   Recommendations are based in whole or in part upon matters occurring of record at an oral hearing,
   the objecting party shall promptly arrange for the transcription of the record, or such portions of it
   as all parties may agree upon or the Magistrate Judge deems sufficient, unless the assigned District
   Judge otherwise directs. A party may respond to another party=s objections within fourteen days
   after being served with a copy thereof. Failure to make objections in accordance with this
   procedure may forfeit rights on appeal. See United States v. Walters, 638 F.2d 947, 949-50 (6th
   Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




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